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6

7
                         UNITED STATES DISTRICT COURT
8
                        CENTRAL DISTRICT OF CALIFORNIA
9

10
     CHRSTINE PROCTOR,                        )
            Plaintiff,                        ) Case No.: 5:21-cv-00334-KK
11                                            )
12         vs.                                ) ORDER FOR AWARD OF EAJA
                                              ) FEES
13
     KILOLO KIJAKAZI,                         )
14   Acting Commissioner of Social            )
15
     Security,                                )
               Defendant.                     )
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      Case 5:21-cv-00334-KK Document 23 Filed 12/07/21 Page 2 of 2 Page ID #:787



1    Based upon the parties’ Stipulation for Award of EAJA Fees (“Stipulation”),
2
           IT IS ORDERED that attorney’s fees under the Equal Access to Justice Act
3
     (“EAJA”) are awarded in the amount FIVE THOUSAND EIGHT HUNDRED
4
     AND EIGHTY NINE DOLLARS ($5,889.00) as authorized by 28 U.S.C. §
5
     2412(d), and subject to the terms and conditions of the Stipulation.
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     DATED: December 7, 2021
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                                                ________________________________
9
                                                  HON. KENLY KIYA KATO
10                                                United States Magistrate Judge
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